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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :       CRIMINAL NO. 25-CR-164
               v.                           :
                                            :
EMILY SOMMER,                               :
                                            :
                       Defendant.           :


                      NOTICE OF FILING OF DISCOVERY LETTER

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully gives notice that undersigned counsel for the government has provided

counsel for the defendant discovery in the above-captioned case as outlined in the government’s

attached discovery letter.

                                     Respectfully submitted,

                                     JEANINE FERRIS PIRRO
                                     U.S. ATTORNEY


                              By:              /s/
                                     JACOB M. GREEN
                                     Assistant United States Attorney
                                     MA Bar No. 706143
                                     601 D Street, N.W.
                                     Washington, D.C. 20530
                                     202-803-1617
                                     Jacob.green3@usdoj.gov




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                                                              U.S. Department of Justice

                                                              Jeanine F. Pirro
                                                              United States Attorney
                                                              District of Columbia

                                                              Patrick Henry Building
                                                              601 D St., N.W.
                                                              Washington, D.C. 20530



                                                                  July 14, 2025

       By Email

       Diane Shrewsbury
       Assistant Federal Public Defender
       625 Indiana Avenue NW, Suite 550
       Washington, DC 20004

                       Re:   United States v. Emily Sommer
                             Criminal No.: 25-CR-164

       Dear Counsel:

              This discovery letter memorializes ongoing discovery that has been provided to you.
       Under our discovery obligations, we are providing the files listed below via USAfx. Please be
       advised that we may provide additional discovery in this case as we obtain additional materials.

               By now, you are connected to the USA File Exchange (“USAfx”). As you are aware, there
       is a case-folder labeled “Emily Sommer” You and your investigator have access to this case-
       folder and can download its contents. Please keep in mind that all of the items placed in the
       USAfx case-folder will be deleted automatically – some in as few as 45 days or less. Please
       download all discovery as soon as possible.

              I.       Discovery

              The government has produced its discovery to you through USAfx including the following files:


          A. 2025.05.28 - Production 1

              1. Interview Video File Folder

Name                                                                                          Size (In
                                                      2
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                                                                                     KB)
FUL INTERVIEW.mp4                                                                     265176.23

          2. Mugshots
MPD Mugshot 10-7-2023.jpg                                                                     40.25
MPD Mugshot 6-13-2024.jpg                                                                     35.02

              3. PHB Footage
PHB Exterior 6th Street North Sidewalk 3 5-8-2025 3-25-00 PM.zip                          367344.99
PHB Exterior 6th Street North Sidewalk 1 5-8-2025 3-25-00 PM.zip                          361451.96
PHB Exterior 6th Street North Sidewalk 2 5-8-2025 3-25-00 PM.zip                          248889.30
PHB Exterior 6th Street North Sidewalk 4 5-8-2025 3-25-00 PM.zip                          572069.50
PHB Exterior D Street North Sidewalk 2 5-8-2025 3-15-00 PM.zip                            617068.24
PHB Exterior Front D Street Entrance 5-8-2025 3-25-00 PM.zip                              228913.90
PHB Exterior Front D Street Entrance_5.8.2025 3.29.41 PM.png                                2539.34
PHB Exterior Front D Street Entrance_5.8.2025 3.29.41-2 PM.png                              2553.66
PHB Exterior Front D Street Entrance_5.8.2025 3.29.41-3 PM.png                              2566.02
PHB Exterior Front Door Entrance 5-8-2025 3-25-00 PM.zip                                  174293.07
PHB Exterior Front Door Entrance_5.8.2025 3.29.38 PM.png                                    1888.92
PHB Main Lobby 4 5-8-2025 3-25-00 PM.zip                                                  237291.00
PHB Main Lobby 5 5-8-2025 3-25-00 PM.zip                                                  221102.27
PHB Main Lobby 5 5-8-2025 3-25-00 PM_.zip                                                 221102.27
3rdPartyLicenses.txt                                                                         163.06
BlowfishDLL.dll                                                                              149.00
Castle.Core.dll                                                                              424.50
Castle.Core.xml                                                                              410.71
CommonServiceLocator.dll                                                                       9.00
Flurl.dll                                                                                     22.00
Flurl.xml                                                                                     28.00
GalaSoft.MvvmLight.Extras.WPF45.dll                                                           25.00
GalaSoft.MvvmLight.Extras.WPF45.pdb                                                           43.50
GalaSoft.MvvmLight.Extras.WPF45.xml                                                           35.49
GalaSoft.MvvmLight.WPF45.dll                                                                  28.00
GalaSoft.MvvmLight.WPF45.pdb                                                                  87.50
GalaSoft.MvvmLight.WPF45.xml                                                                  95.27
GongSolutions.WPF.DragDrop.dll                                                                64.50
GongSolutions.WPF.DragDrop.pdb                                                               139.50
GongSolutions.WPF.DragDrop.xml                                                                63.77
Google.ProtocolBuffers.dll                                                                   315.50
Google.ProtocolBuffers.xml                                                                   275.93
libTucson.dll                                                                                661.00
libTucson.pdb                                                                               2171.50

                                                  3
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LicenseTerms.rtf                                                                     61.58
Microsoft.Xaml.Behaviors.dll                                                        141.38
Microsoft.Xaml.Behaviors.pdb                                                         50.81
Microsoft.Xaml.Behaviors.xml                                                        135.96
NamedPipeWrapper.dll                                                                 20.50
NamedPipeWrapper.pdb                                                                 57.50
NEbml.Core.dll                                                                       18.00
NEbml.Core.xml                                                                       21.20
Newtonsoft.Json.dll                                                                 659.41
Newtonsoft.Json.pdb                                                                 244.38
Newtonsoft.Json.Schema.dll                                                          177.50
Newtonsoft.Json.Schema.xml                                                           99.46
Newtonsoft.Json.xml                                                                 682.87
NLog.dll                                                                            406.00
NLog.xml                                                                            768.07
NodaTime.dll                                                                        393.00
NodaTime.xml                                                                        758.14
NSubstitute.dll                                                                     144.00
NSubstitute.xml                                                                      65.03
Option.dll                                                                           12.50
Option.xml                                                                           26.61
Pelco.Phoenix.Common.dll                                                           4470.50
Pelco.Phoenix.Common.dll.config                                                       2.21
Pelco.Phoenix.Common.pdb                                                           5635.50
Pelco.Phoenix.DataTypes.dll                                                          58.00
Pelco.Phoenix.DataTypes.pdb                                                         121.50
Pelco.Phoenix.Interfaces.dll                                                         14.50
Pelco.Phoenix.Interfaces.pdb                                                         43.50
Pelco.Phoenix.Services.dll                                                           43.00
Pelco.Phoenix.Services.dll.config                                                     1.73
Pelco.Phoenix.Services.pdb                                                           83.50
Pelco.Phoenix.Shared.dll                                                            218.50
Pelco.Phoenix.Shared.dll.config                                                       1.74
Pelco.Phoenix.Shared.pdb                                                            413.50
Pelco.Phoenix.UI.Tucson.dll                                                         453.00
Pelco.Phoenix.UI.Tucson.dll.config                                                    4.73
Pelco.Phoenix.UI.Tucson.pdb                                                        1115.50
Pelco.Serenity.dll                                                                 1506.00
Pelco.Serenity.dll.config                                                             3.11
Pelco.Serenity.pdb                                                                 3019.50
PluginHostInterfaces.dll                                                             26.00
PluginHostInterfaces.pdb                                                            103.50
                                            4
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policy.2.0.taglib-sharp.config                                                          0.36
policy.2.0.taglib-sharp.dll                                                             3.00
Semver.dll                                                                              9.50
Semver.xml                                                                             12.96
start-dbg.cmd                                                                           0.28
SuperSocket.ClientEngine.dll                                                           41.00
System.Net.Http.Formatting.dll                                                        180.70
System.Net.Http.Formatting.xml                                                        188.11
System.Reactive.Core.dll                                                               14.95
System.Reactive.Core.xml                                                                0.14
System.Reactive.dll                                                                  1233.45
System.Reactive.Interfaces.dll                                                         13.95
System.Reactive.Interfaces.xml                                                          0.15
System.Reactive.Linq.dll                                                               14.45
System.Reactive.Linq.xml                                                                0.14
System.Reactive.PlatformServices.dll                                                   13.45
System.Reactive.PlatformServices.xml                                                    0.15
System.Reactive.Windows.Threading.dll                                                  13.45
System.Reactive.Windows.Threading.xml                                                   0.15
System.Reactive.xml                                                                  2374.88
System.Runtime.CompilerServices.Unsafe.dll                                             23.05
System.Runtime.CompilerServices.Unsafe.xml                                             13.75
System.Threading.Tasks.Extensions.dll                                                  32.23
System.Threading.Tasks.Extensions.xml                                                   9.91
System.ValueTuple.dll                                                                  24.64
System.ValueTuple.xml                                                                   0.14
System.Windows.Interactivity.dll                                                       54.57
System.Windows.Interactivity.xml                                                       60.67
taglib-sharp.dll                                                                      433.00
UnderlayWindow.exe                                                                    208.50
Unity.Abstractions.dll                                                                 63.50
Unity.Abstractions.pdb                                                                 22.25
Unity.Container.dll                                                                   144.00
Unity.Container.pdb                                                                    45.85
Unity.ServiceLocation.dll                                                               6.00
Unity.ServiceLocation.pdb                                                               1.14
VideoXpert VxPlayer.exe                                                               534.00
VideoXpert VxPlayer.exe.config                                                          4.86
VideoXpert VxPlayer.pdb                                                               593.50
vxd-debug.cmd                                                                           1.73
WebSocket4Net.dll                                                                      60.50
Pelco.Phoenix.Common.resources.dll                                                    774.00
                                              5
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Pelco.Phoenix.Common.resources.dll                                                  873.00
Pelco.Phoenix.Common.resources.dll                                                  670.50
Pelco.Phoenix.Common.resources.dll                                                  691.50
Pelco.Phoenix.Common.resources.dll                                                  680.00
Pelco.Phoenix.Common.resources.dll                                                  698.00
Pelco.Phoenix.Common.resources.dll                                                  660.00
Pelco.Phoenix.Common.resources.dll                                                  697.50
Pelco.Phoenix.Common.resources.dll                                                  672.50
Pelco.Phoenix.Common.resources.dll                                                  206.00
Pelco.Phoenix.Common.resources.dll                                                  680.00
3rdPartyLicenses.txt                                                                 81.05
avcodec-58.dll                                                                     4175.00
avfilter-7.dll                                                                      142.00
avformat-58.dll                                                                     306.00
avutil-56.dll                                                                       462.00
cfgconf.xml                                                                           0.77
CfgMgr.exe                                                                         1599.56
check-circle-16x16-status_a.png                                                       1.23
Dbg.exe                                                                             492.27
GEISDK.dll                                                                         3615.00
ImExTk_dx.dll                                                                       640.00
iptzSinkUtils.dll                                                                   677.00
libblowfish.dll                                                                     117.40
libcairo-2.dll                                                                     1358.36
libffi-6.dll                                                                        130.97
libgcc_s_seh-1.dll                                                                  548.26
libgio-2.0-0.dll                                                                   2009.33
libglib-2.0-0.dll                                                                  1670.04
libgmodule-2.0-0.dll                                                                127.40
libgmp-10.dll                                                                       709.17
libgnutls-30.dll                                                                   1911.91
libgobject-2.0-0.dll                                                                480.27
libgstapp-1.0-0.dll                                                                 273.96
libgstaudio-1.0-0.dll                                                              1587.66
libgstbase-1.0-0.dll                                                               1276.05
libgstcodecparsers-1.0-0.dll                                                        723.89
libgstfft-1.0-0.dll                                                                 235.36
libgstnet-1.0-0.dll                                                                 365.92
libgstpbutils-1.0-0.dll                                                             693.48
libgstreamer-1.0-0.dll                                                             3369.76
libgstriff-1.0-0.dll                                                                217.28
libgstrtp-1.0-0.dll                                                                 464.42
                                            6
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libgstrtsp-1.0-0.dll                                                                    455.83
libgstsdp-1.0-0.dll                                                                     296.83
libgsttag-1.0-0.dll                                                                     677.07
libgstvideo-1.0-0.dll                                                                  2060.26
libgstvxddxva2base.dll                                                                  443.34
libhogweed-4.dll                                                                       6155.76
libiconv-2.dll                                                                         1060.91
libintl-8.dll                                                                           241.62
libjpeg-62.dll                                                                          612.20
libMagick++-6.Q16-5.dll                                                                1198.30
libMagickCore-6.Q16-2.dll                                                              4623.27
libMagickWand-6.Q16-2.dll                                                              1981.72
libnettle-6.dll                                                                        4978.12
liborc-0.4-0.dll                                                                        916.48
libpixman-1-0.dll                                                                      3631.68
libpng15-15.dll                                                                         259.31
libprotobuf-8.dll                                                                      4748.65
libsoup-2.4-1.dll                                                                       922.19
libsqlite3-0.dll                                                                        921.06
libstdc++-6.dll                                                                        8800.38
libxml2-2.dll                                                                          1534.56
msvcp140.dll                                                                            576.28
phoenixconf.xml                                                                           0.19
pthreadGC2-w64.dll                                                                       41.50
pthreadVC3.dll                                                                          100.00
StartSys.bat                                                                              0.50
Sys.exe                                                                                 429.54
vcruntime140.dll                                                                         98.52
vcruntime140_1.dll                                                                       43.28
vxdconfig.xml                                                                             4.04
vx_decoder.exe                                                                         1883.12
warning-16x14-warn_a.png                                                                  1.24
warning-octo-16x16-alert_a.png                                                            0.31
WinTest_Dxva2.exe                                                                       146.24
x86_64-w64-mingw32-gst-inspect-1.0.exe                                                  263.46
zlib1.dll                                                                               115.50
libgiognutls.dll                                                                        233.05
libgstalaw.dll                                                                          191.54
libgstapp.dll                                                                           116.18
libgstaudioconvert.dll                                                                  187.21
libgstaudiotestsrc.dll                                                                  249.53
libgstavi.dll                                                                           486.56
                                                7
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libgstcoreelements.dll                                                              1364.38
libgstcoretracers.dll                                                                285.59
libgstd3d.dll                                                                        373.37
libgstdirectsound.dll                                                                219.61
libgstdirectsoundsrc.dll                                                             216.85
libgstEvoRenderer.dll                                                                 85.00
libgstFisheyeRenderer.dll                                                            121.00
libgstisomp4.dll                                                                    1370.84
libgstjpeg.dll                                                                       275.87
libgstjpegformat.dll                                                                 231.20
libgstlibav.dll                                                                      460.01
libgstmatroska.dll                                                                   907.77
libgstmulaw.dll                                                                      192.24
libgstOpteraRenderer.dll                                                             170.00
libgstpbtypes.dll                                                                    117.06
libgstrtp.dll                                                                       3464.55
libgstrtpmanager.dll                                                                1181.51
libgstrtsp.dll                                                                       539.20
libgstsubparse.dll                                                                   310.42
libgstudp.dll                                                                        367.29
libgstvideoconvert.dll                                                               181.15
libgstvideocrop.dll                                                                  222.21
libgstvideofilter.dll                                                                375.26
libgstvideoparsersbad.dll                                                            802.56
libgstvideorate.dll                                                                  216.76
libgstvideoscale.dll                                                                 199.32
libgstvideotestsrc.dll                                                               321.61
libgstvxd.dll                                                                       9944.73
libgstvxddxva2.dll                                                                   942.75
SerEventsData.xml                                                                     34.20
Pelco.Phoenix.Common.resources.dll                                                   674.50
Pelco.Phoenix.Common.resources.dll                                                   673.50
Pelco.Phoenix.Common.resources.dll                                                   668.50
Pelco.Phoenix.Common.resources.dll                                                   875.00
Pelco.Phoenix.Common.resources.dll                                                   667.00
Pelco.Phoenix.Common.resources.dll                                                   613.50

             4. X Posts
X Account Profile Picture.jpg                                                         29.78
X Post 1.JPG                                                                          60.25
X Post 10.JPG                                                                         58.39
X Post 11.JPG                                                                         59.76
                                             8
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X Post 12.JPG                                                                               59.50
X Post 13.JPG                                                                               47.01
X Post 14.JPG                                                                               36.87
X Post 2.JPG                                                                                52.05
X Post 3.JPG                                                                                35.10
X Post 4.JPG                                                                                55.53
X Post 5.JPG                                                                                71.85
X Post 6.JPG                                                                                45.42
X Post 7.JPG                                                                                60.25
X Post 8.JPG                                                                                81.25
X Post 9.JPG                                                                                35.59

         B. 2025.06.26 - Production 2

            5. USMS BWC
evidence.com_evidence_package_1_of_1_created_2025-06-23T18_09_57Z.zip                 2923631.63

         C. 2025.07.11 - Production 3

             6. CDRs ATT
Declaration_4355252.pdf                                                                     79.76
Documents.zip                                                                             1257.51

              7. CDRs T-Mobile
2024 Interpreting All T-Mobile Records 20250421.pdf                                        631.53
5681553_20250613_Certification.pdf                                                          24.59
5681553_20250613_OBJ.pdf                                                                    12.35
CDR_Mediations_XXXXXXXXXX_17877070.xls                                                     204.50
Data_Sessions_670255_XXXXXXXXXX.xlsx                                                       478.65
Response Document - Data Retention Changes - 230501.pdf                                    144.56
SUB_Tibco_XXXXXXXXXX_17877071.xls                                                           57.50
UTC Information Sheet 20220408.pdf                                                          60.57

           8. DEA Video
IMG_6293.3GP                                                                               438.72

               9. Facebook
XXXXXXXXXX_affidavit.pdf                                                                    83.91
instructions.txt                                                                             3.10
records.html                                                                                39.62
Screenshot provided by DEA.JPG                                                             555.99
SOMMER Threads and FB photo.jpg                                                             53.86


                                                 9
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               10. FBI
1000001589.jpg                                                                           555.99
1000001590.mp4                                                                           438.72
ED Martin interview notes.pdf                                                           1813.30
Guardian ED Martin.pdf                                                                   332.61
Identifers for SOMMER.JPG                                                                253.81
N.M. interview notes.pdf                                                                 926.73
Screenshot provided by DEA.JPG                                                           555.99

             11. Google
96355783-20250605-1.zip                                                                   42.80
XXXXXXXXXX.104911026773.GooglePay.BillingInformation_001.zip                               1.75
XXXXXXXXXX.104911026773.GooglePay.GiftCard_001.zip                                         0.63
XXXXXXXXXX.104911026773.Preserved_001.GooglePay.BillingInformation_001.zip                 1.75
Letter 96355783.pdf                                                                      209.20

               12. Instagram
XXXXXXXXXX_affidavit.pdf                                                                  83.91
instructions.txt                                                                           3.10
records.html                                                                              25.07

            13. USA Appointment and Resignation
AG Order Martin.pdf                                                                     1133.85
Pirro AG Order.pdf                                                                       213.02
USA MARTIN RESIGNATION LETTER.pdf                                                        270.88

            14. Bulletin
DC JSU Bulletin AUSA Martin Assault_.pdf                                                 744.30

            15. USMS Images
2025-05-09_12-05.png                                                                     211.85
2025-05-09_12-05_1.png                                                                   501.46
2025-05-09_12-06.png                                                                     412.82
2025-05-09_12-06_1.png                                                                   388.61
2025-05-09_12-06_2.png                                                                   475.26
2025-05-09_12-09.png                                                                     128.78
2025-05-09_12-10.png                                                                     472.40
2025-05-09_12-12.png                                                                     473.17
2025-05-09_12-13.png                                                                     364.77
2025-05-09_12-13_1.png                                                                   487.42
2025-05-09_12-14.png                                                                     379.02
2025-05-09_12-15.png                                                                     149.38
2025-05-09_12-16.png                                                                     287.43
                                                  10
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2025-05-09_12-16_1.png                                                                    470.18
2025-05-09_12-17.png                                                                      356.70
2025-05-09_12-18.png                                                                      407.27
2025-05-09_12-18_1.png                                                                    388.39
Binder of all images.pdf                                                                12842.17
XXXXXXXXXX - Twitter 2025-05-09_12-01.png                                                 216.38
XXXXXXXXXX - Twitter profile photo 2025-05-09_12-01 download.jpg                           29.78
XXXXXXXXXX - Twitter profile photo 2025-05-09_12-01.png                                   309.60

             16. USMS Notes
Notes FVeitch - Redacted.pdf                                                             3950.07
Notes KButler - Redacted.pdf                                                              310.85
r_Notes - Redacted.pdf                                                                   3991.78

           17. USMS Reports
INCID-25-9384_UseOfForce (004) Redacted.pdf                                               183.81
INCID-25-9384_UseOfForce (2) Redacted.pdf                                                 188.58
INCID-25-9384_UseOfForce (4) Redacted.pdf                                                 145.80
INCID-25-9384_UseOfForce Redacted.pdf                                                     184.18
INCID-25-9579_AssaultBattery_20250530 Redacted.pdf                                        300.16
USM-11-25-110198 Redacted.pdf                                                             249.82
USM-11-25-111923 Redacted.pdf                                                             133.22
usm45 SOMMER - Redacted.pdf                                                              1311.60

            18. USMS Texts
0855 Redacted.pdf                                                                         793.84
134100 Redacted.pdf                                                                       764.33
134212 Redacted.pdf                                                                       198.79

           19. USMS USM-11
INCID-25-9384_UseOfForce (1) - Redacted.pdf                                               183.67
INCID-25-9384_UseOfForce (2) - Redacted.pdf                                               188.58
INCID-25-9384_UseOfForce (4) - Redacted.pdf                                               145.92
INCID-25-9384_UseOfForce - Redacted.pdf                                                   183.66
INCID-25-9579_AssaultBattery_20250530 - Redacted.pdf                                      300.29
USM-11 - 2025-06-02T131504.002 - Redacted.pdf                                            1078.08
USM-11-25-100869 (JK)_Redacted.pdf                                                        237.36
USM-11-25-104649 (JK)_Redacted.pdf                                                        199.50
USM-11-25-97792 Redacted.pdf                                                              272.54
USM-11-25-98412 (JK)_Redacted.pdf                                                         101.21

            20. BWC Unredacted
evidence.com_evidence_package_1_of_1_created_2025-05-28T14_12_01Z.zip              2382233.94
                                                11
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evidence.com_evidence_package_1_of_1_created_2025-05-28T21_48_36Z.zip                             1579293.54
RE_ US Marshals Service Body Worn Camera footage request (Sommer, Emily, FID_
11806260).pdf                                                                                          190.72

             21. X posts 2025.06.03
6-3-25 1127 hours.JPG                                                                                  199.84
FW_ EmilyGabriellaS Twitter Post.pdf                                                                   304.96

         D. 2025.07.14 - Production 4

          22. USMS Emails
USMS Emails Redacted.pdf                                                                           165756.42

             The government may introduce at trial any of the physical evidence identified in this
     discovery. Upon request, you are entitled to inspect and copy or photograph certain books, papers,
     documents, photographs, tangible objects, buildings or places that are within the possession,
     custody or control of the government. See Fed R. Crim. P. 16(a)(1)(E). If you would like to view
     any of the evidence identified in discovery or described in the provided reports, please contact me
     to arrange for the inspection of the evidence. These arrangements will include a condition that
     you not raise any objection to the admissibility of such evidence at trial because of the break in the
     chain-of-custody occasioned by your inspection.

            II.     Criminal Record

            Please refer to the Pretrial Services Reports that you received at arraignment for further
     information about your client’s record. We will notify you in writing if the government learns of
     any convictions which are not included in this report.

            III.    Government’s Discovery Requests

             The government hereby makes a reverse discovery request pursuant to Fed. R. Crim. P.
     16(b), including, but not limited to the following:

            (1) notice of documents and tangible objects the defendant expects to introduce;
            (2) a Jencks request for all prior statements of any defense witness (excluding the
                defendant);
            (3) a Lewis request (for which we request the name, date of birth, sex, and social security
                number of each defense witness prior to trial); and
            (4) a request for information pertaining to any expert or scientific testimony or evidence.

            Pursuant to Fed. R. Crim. P. 16, we note our continuing request to receive any material
     pursuant to Rule 16(b) as the case proceeds.




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       IV.    Other Information (Brady / Lewis / Giglio)

      The government is aware of its Brady obligations and its continuing duty to disclose. The
government will disclose any Giglio or Lewis material at the appropriate time before trial.


Should you have any questions or concerns, please call me directly at (202) 803-1617.


                                    Respectfully submitted,

                                    JEANINE FERRIS PIRRO
                                    U.S. ATTORNEY


                             By:              /s/
                                    JACOB M. GREEN
                                    Assistant United States Attorney
                                    MA Bar No. 706143
                                    601 D Street, N.W.
                                    Washington, D.C. 20530
                                    202-803-1617
                                    Jacob.green3@usdoj.gov
